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                        Exhibit A
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                      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                                      CASE NO.:

        SHTERNA PINCHASOV, on her own behalf,
        and on behalf of those similarly situated,

                  Plaintiff                                           CLASS ACTION
        v

        ROBINHOOD FINANCIAL, LLC,

                   Defendant.
                                                         /




                                         CLASS ACTION COMPLAINT

                   Plaintiff, Shterna Pinchasov (“Plaintiff” or “Pinchasov”), on her own behalf and on behalf

        of those similarly situated (collectively, the “Customers” or “Class Members”), by and through

        undersigned counsel, sues Defendant Robinhood Financial, LLC. (“Robinhood”), and alleges the




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   following based upon personal knowledge as to the allegations regarding herself, and upon

   information and belief as to the other allegations:

                                           INTRODUCTION

             1.   This lawsuit is brought as a class action by and on behalf of Robinhood’s Customers

   that were affected by Robinhood’s failure to prevent customers from using its interface for certain

   stocks that the Defendant, as broker-dealer, makes available to its customers.

             2.   Robinhood is a broker-dealer registered with the Securities and Exchange

   Commission to transact business.

             3.   A brokerage firm, also called a broker-dealer, is in the business of buying and

   selling securities – stocks, bonds, mutual funds, and certain other investment products – on behalf

   of its customer (as broker), for its own bank (dealer), or both.

             4.   Individuals who work for broker-dealers - the sales personnel are commonly

   referred to as brokers.

             5.   Robinhood as a broker-dealer uses its “deliberately engineered systems” to

   “leverage technology to encourage everyone to participate in our financial system” through its

   interface, providing their targeted “newcomer” customer-base the platform to conduct all aspects

   of stock trading on their customers’ smartphones. See https://robinhood.com/us/en/careers/.

             6.   As a result, Robinhood’s users receive stock pricing and other stock information

   from Robinhood.

             7.   Robinhood acts as teacher of sorts to the newcomer with trading and market data,

   specifically targeting “less knowledgeable traders” assuring that they [Robinhood] can be trusted




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   to provide navigation of the “daunting” and “complex system of regulation, financial institutions,

   and assets.” Id.

             8.     Robinhood asserts that it- “not the marble office buildings of Wall St”- is

   “lowering barriers, removing fees, and providing greater access to financial information” to “create

   a financial system everyone can participate in.” Id.

             9.     Robinhood’s Mission Statement is as follows: “Robinhood’s mission is to

   democratize finance for all. We believe that everyone should have access to the financial markets, so

   we’ve built Robinhood from the ground up to make investing friendly, approachable, and

   understandable for newcomers and experts alike.” Id.

             10.    Robinhood advertises to the inexperienced trader, with phrases on its website such

   as “Investing for Everyone” and “Your Financial Journey Starts Here” and including explanations

   such as “Investing can be complicated — that’s why we’re here. From beginners’ guides to timely

   features, explore articles that make finance a little more understandable.” Id.

             11.    Robinhood has a learning section on its website called “Investing Basics: The best

   place to start for beginners. Get the low-down before you dive in.” Id.

             12.    Robinhood customers, like other online stock traders, receive information from

  Robinhood regarding stocks.

              13.   Robinhood, as a broker/dealer, has a duty of care to act in accordance with the

   standard of care used by other professionals in the community. Said duty of care is owed by

   Robinhood to all of its customers.

             14.    Robinhood’s duty includes the management of a customer’s use of the Robinhood




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  interface for each of the stock services Robinhood’s interface was “deliberately engineered” to

  provide.

             15.   Robinhood’s duty extends to informing its customers about things like trading halts

  when a halt code is present, for the protection of its customers.

             16.   This duty also extends to removing any type of price quotation, or indication of

  interest on a stock which is subject to a halt for the protection of its customers.

             17.   A T1 Halt is a trade halt code representing when trade is halted on a particular

  company’s stock because said company is pending the release of material news which is likely to

  lead to abnormal volatility in said company’s stock price.

             18.   When Robinhood’s targeted customers did not receive the basic information

  regarding the T1 Halt placed on the Hertz Corporation stock in March 2020, Robinhood’s targeted

  customers lost significant sums of money.

             19.   Once the Hertz Corporation T1 Halt was lifted, the market price of the stocks had

  dropped significantly, causing Plaintiff and others similarly situated damages as a result of

  Robinhood executing the pre-T1 Halt trades which should have been cancelled, terminated or

  otherwise halted.

             20.   Had Robinhood fulfilled its duty of managing the Robinhood interface for each of

  the stock services Robinhood’s interface was “deliberately engineered” to provide for its targeted

  customer-base, Plaintiff and others similarly situated would likely never have been harmed.

             21.   Any reasonable broker/dealer in the industry knows or should know that their

  customers need to be informed that a given stock is subject to a T1 Halt, in order to protect that




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  consumer(s) from the volatility due to the news which generated the T1 Halt.

             22.    Robinhood breached its duty of care to its targeted customers by failing to prevent

  customers from using its interface for stocks that had been the subject of a T1 Halt and failing to

  provide those customers the knowledge of the T1 Halt.

                                         JURISDICTION AND VENUE

                   23.    This is a class action at law seeking monetary damages in an amount that

  exceeds $30,000.00, exclusive of interest, costs, and attorney’s fees.

                   24.    Accordingly, the Circuit Court has subject matter jurisdiction over this action

  pursuant to Fla. Stat. §34.01(1)(c).

                   25.    The Defendant is subject to personal jurisdiction within the State of Florida

  pursuant to Fla. Stat. § 48.193(1)(a)(1) because the Defendant is “[o]perating, conducting, engaging

  in, or carrying on a business or business venture in this state [and] ha[s] an office or agency in this

  state.”

             26.    Robinhood is a foreign limited liability company, having its principal place of

  business in San Mateo County, California.

             27.    Robinhood also houses its first regional headquarters in Lake Mary, Florida.

             28.    While the Defendant’s regional headquarters location is further indication that the

  Defendant’s contacts with the Florida are by no means de minimis, if not original jurisdiction, this

  Court certainly has personal jurisdiction over Robinhood pursuant to Florida’s long-arm statute.

  See Fla. Stat. §§ 48.193(1)(a)(1)-(6).

             29.    Florida's long-arm statute recognizes two kinds of personal jurisdiction over a

  nonresident defendant: specific jurisdiction and general jurisdiction and when a Plaintiff satisfies




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  the long-arm statute's requirements for specific jurisdiction over a Defendant, there is no need to

  engage in the general jurisdiction analysis.

             30.   Under Florida's long-arm statute, a court may exercise specific personal jurisdiction

  over a nonresident defendant who engaged in one of the enumerated acts listed under section

  48.193(1)(a).

             31.   Florida's long-arm statute is to be strictly construed.

             32.   Section 48.193(1)(a)(1) states a nonresident defendant may be subjected to the

  jurisdiction of a court in Florida for either “[o]perating, conducting, engaging in, or carrying on a

  business or business venture in this state or having an office or agency in this state.” Fla. Stat. §

  48.193(1)(a)(1). Here, Defendant’s conduct in this Action triggers the necessary prong of Florida’s

  long-arm jurisdiction because Robinhood is engaged in substantial and not isolated activity within

  this State by virtue of its direct marketing and targeting of its customer-base in Florida through its

  deliberately engineered application in concert with Robinhood’s maintaining its Florida regional

  operational headquarters in Lake Mary.

             33.   Robinhood is not only a brokerage firm licensed in Florida, but it also houses its

  first regional headquarters. Additionally, while many of Robinhood’s targeted customers get their

  service for free, leaving Robinhood to generate revenue from those customers’ transactions,

  Robinhood’s gold customers pay monthly fees starting at $5 for access to professional research,

  margin trades and other activities. Regardless of the characterization of the Robinhood customer

  (i.e. standard or gold) both are derived in high number from Florida. That fact, in concert with the

  regional headquarters location satisfies those factors to be considered by this Court under 48.193

  prong (a).




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             34.   Further, the causes of action brought in this Complaint arise from Robinhood

  committing a tortious act within this state by virtue of its failure to properly or otherwise manage

  its deliberately engineered application for its targeted customer-base in such a way to prevent those

  customers from suffering specific harm to the tune of thousands of dollars each. See Fla. Stat.

  §48.193(1)(a)(2).

             35.   Personal jurisdiction over the Defendant is proper under § 48.193(1)(a)(2).

             36.   Given the above, venue is therefore proper in this Miami Dade County pursuant to

   Fla. Stat. §47.011 because Robinhood is subject to personal jurisdiction here and because the

   cause of action accrued here.

                                                 PARTIES

             37.   Plaintiff Pinchasov is a citizen of the State of Florida who is domiciled in Miami-

   Dade County. Pinchasov became a customer of Robinhood on or about March of 2020, after

   receiving several advertisements for their services in Florida. On at least one occasion after that

   date, Robinhood failed to prevent customers from using its interface for stock that were halted

   pursuant to a T1 halt, causing the Plaintiffs damages when the T1 halt was lifted.

             38.   Defendant Robinhood is a full-service broker-dealer registered with the Securities

   and Exchange Commission. Robinhood engages in the business of providing securities brokerage

   services to individuals and corporate clients, among other organizations.

                                   CLASS ACTION ALLEGATIONS

             39.   Plaintiff brings this action on her own behalf and on behalf of all others similarly

   situated pursuant to Fla. R. Civ. P. 1.220 This action satisfies the numerosity, commonality,

   typicality, adequacy, predominance and superiority requirements of the Rule.




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             40.    The proposed Class is defined as:

                   All former and current Customers of Robinhood in the United States and its
                   territories who were affected by Robinhood’s failure to prevent customers
                   from using its interface for stocks which were subject to a T1 Halt at any
                   time (a) within 4 years preceding the filing of this lawsuit (the “Class
                   Period”).

             41.    Excluded from the Class are Robinhood, its parents, subsidiaries, affiliates, officers

   and directors, any entity in which Robinhood has a controlling interest, all Customers who make

   a timely selection to be excluded, governmental entities, all judges assigned to hear any aspect of

   this litigation, as well as their immediate family members, and any of the foregoing’s legal heirs

   and assigns.

             42.    Plaintiff reserves the right to modify or amend the definition of the proposed Class

   before the Court determines whether certification is appropriate.

             43.    Plaintiff does not currently know the exact number of Class Members or their

  identities because such information is in the exclusive control of Robinhood and can only be

  ascertained by review of its records. However, Plaintiff believes that there are thousands of Class

  Members, and that the Class Members are sufficiently numerous and geographically dispersed so

  that joinder of all Class Members is impracticable. Plaintiff further believes that Robinhood failed

  to prevent customers from using its interface for stocks subject to T1 holds during the Class Period.

  Accordingly, it is believed that the amount in controversy easily exceeds $5,000,000.00.

             44.    The claims of Plaintiff are typical of the Class, in that Plaintiff, like all Class

  Members, was not prevented from using Defendant’s “deliberately engineered” interface in

  commencing stock trades subject to a T1 halt, resulting in a significant loss of money to each of the

  Class Members.




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             45.    The factual basis of Robinhood’s misconduct is common to all Class Members and

  resulted in injury to all Class Members.

             46.    There are numerous questions of law and fact common to the Class and those

  common questions predominate over any questions affecting only individual Class Members,

  including whether Robinhood:

                   a.      Was negligent by not preventing its customers from using its
                   interface on stocks that were subject to a T1 halt; and

                   b.     the appropriate measure of damages sustained by Plaintiff and other
                   Class Members.

             47.    A class action is superior to other methods for the fair and efficient adjudication of

   this controversy. Treatment as a class action will permit a large number of similarly situated

   persons to adjudicate their common claims in a single forum simultaneously, effectively, and

   without the duplication of effort and expense, and risk of inconsistent rulings that numerous

   individual actions would cause. Class treatment will also permit the adjudication of relatively small

   claims by Class Members who otherwise might not be able to afford to litigate their claims

   individually. This class action presents no difficulties in management that would preclude

   maintenance as a class action.

             48.    This forum is particularly desirable for the prosecution of this class action because

   Robinhood maintains its regional headquarters in Lake Mary, Florida, and the lead Plaintiff is also

   domiciled in Florida. As a result of the foregoing, litigating on a class action basis in this forum

   will likely decrease the cost of discovery and prosecution, generally.

             49.    Plaintiff has suffered the harm alleged on behalf of the Class and has no interests

   antagonistic to the interests of any other Class Members. She is committed to the prosecution of




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   this action and has retained counsel experienced in the prosecution of class actions, and in complex

   commercial actions in particular. Accordingly, Plaintiff is an adequate representative and will

   fairly and adequately protect the interests of the Class Members. Plaintiff is not aware of any other

   pending litigation concerning this controversy that involves Class Members.

           50.    Finally, the Class is readily definable and is one for which records likely exist in

   the files of Robinhood.

                                                  COUNT I
                                                 (Negligence)

           51.    Plaintiff re-alleges paragraphs 1 through 50, above, as if fully set forth herein.

           52.    Plaintiff brings this negligence claim on her own behalf, and on behalf of all Class

   Members who were injured by Robinhood’s failure to prevent customers from using its interface

   for stocks that are undergoing a trade halt within four (4) years preceding the filing of this lawsuit.

           53.    As a securities broker-dealer, Robinhood owed its targeted customers a duty of care

   in accordance with the standard of care used by similar professionals in the community under

   similar circumstances using their deliberately engineered interface to facilitate specific

   transactions and receipt of information for the “newcomer” to stocks. That includes, but is not

   limited to, a duty to prevent customers from using its interface for stocks that are subject to a T1

   Halt.

           54.    Robinhood breached its duty, and the standard of care expected from similar

   professionals in the community under similar circumstances by allowing customers to use its

   interface for stocks that were subject to a T1 Halt.

           55.    As a matter of law, it is unreasonable and a breach of Robinhood’s duties owed to

   its Customers to allow targeted “newcomer” customers to use its “deliberately engineered”




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   interface on stocks despite their being not available due to a T1 Halt.

          56.     As a result of Robinhood’s failure to prevent its targeted customers from using its

   interface for stocks that were subject to a T1 Halt, the Plaintiff (and all Class Members) used

   Robinhood’s interface on stocks that were subject to high volatility.

          57.     Once the T1 Halt was lifted, the result was a loss of money to the Plaintiff (and all

   Class Members).

          58.     As a direct and proximate result of the foregoing, Plaintiff (and all Class Members)

   have suffered damages.

                                             COUNT II
                                      (Breach of Fiduciary Duty)

          59.     Plaintiff re-alleges paragraphs 1 through 50, above, as if fully set forth herein.

          60.     Robinhood owed a duty to Plaintiff and the Class Members as its fiduciary to inform

   them of information surrounding certain stocks, as it advertised to, and provided this service for, its

   customers. This is especially true since it advertised to the novice stockholder. This duty included

   informing customers of T1 Halts.

          61.     Robinhood breached this duty by not informing customers of the T1 Halts and by

   not preventing them from using its interface for certain stocks not available because of the T1 Halts.

          62.     Its breaches of fiduciary duties were committed directly against and directly

   damaged Plaintiff and the Class Members, and they have suffered actual damages.

          63.     Plaintiff and the Class Members have been damaged as a direct and proximate result

   of these breaches of fiduciary duties.




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                                              JURY TRIAL DEMAND

                    Plaintiff(s) demands a trial by jury on all issues so triable.

                                           PRAYER FOR RELIEF

              WHEREFORE, Plaintiff, on her own behalf and on behalf of all other similarly situated,

   prays for relief and judgment as follows:

              A.     Certifying the proposed Class and approving Plaintiff as class representative;

              B.     Appointing attorneys Igor Y. Hernandez, Michael A. Citron, and Ely R. Levy as
                     Class Counsel;

              C.     Awarding Plaintiff and the Class damages in an amount to be proven at trial, along
                     with costs, interest, and attorneys’ fees; and

              D.     Awarding any further relief the Court deems just and proper.

              Dated: November 5, 2020
                                                             Respectfully and jointly submitted,

                                                    MAC LEGAL, P.A., CORNISH HERNANDEZ
                                                    GONZALEZ, PLLC, and LEVY & PARTNERS,
                                                    PLLC, and jointly, as prospective Class counsel and
                                                    counsel for Plaintiffs

                                                             /s/Michael A. Citron, Esq.
                                                             Michael A. Citron, Esq.
                                                             Florida Bar No.: 105083
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                                                             Igor Hernandez, Esq.
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        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                            IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        Shterna Pinchasov
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       Robinhood Financial, LLC
        Defendant



                II.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        ☐ $8,000 or less
        ☐ $8,001 - $30,000
        ☐ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☒ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




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   CIRCUIT CIVIL

   ☐ Condominium
   ☐ Contracts and indebtedness
   ☐ Eminent domain
   ☐ Auto negligence
   ☒ Negligence—other
          ☐ Business governance
          ☐ Business torts
          ☐ Environmental/Toxic tort
          ☐ Third party indemnification
          ☐ Construction defect
          ☐ Mass tort
          ☐ Negligent security
          ☐ Nursing home negligence
          ☐ Premises liability—commercial
          ☐ Premises liability—residential
   ☐ Products liability
   ☐ Real Property/Mortgage foreclosure
         ☐ Commercial foreclosure
         ☐ Homestead residential foreclosure
         ☐ Non-homestead residential foreclosure
         ☐ Other real property actions

   ☐Professional malpractice
         ☐ Malpractice—business
         ☐ Malpractice—medical
         ☐ Malpractice—other professional
   ☐ Other
         ☐ Antitrust/Trade regulation
         ☐ Business transactions
         ☐ Constitutional challenge—statute or ordinance
         ☐ Constitutional challenge—proposed amendment
         ☐ Corporate trusts
         ☐ Discrimination—employment or other
         ☐ Insurance claims
         ☐ Intellectual property
         ☐ Libel/Slander
         ☐ Shareholder derivative action
         ☐ Securities litigation
         ☐ Trade secrets
         ☐ Trust litigation


   COUNTY CIVIL

   ☐ Small Claims up to $8,000
   ☐ Civil
   ☐ Real property/Mortgage foreclosure
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   ☐ Replevins
   ☐ Evictions
         ☐ Residential Evictions
         ☐ Non-residential Evictions
   ☐ Other civil (non-monetary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes ☐ No ☒

           IV.   REMEDIES SOUGHT (check all that apply):
           ☒ Monetary;
           ☐ Nonmonetary declaratory or injunctive relief;
           ☒ Punitive

           V.     NUMBER OF CAUSES OF ACTION: [ ]
           (Specify)

             2

           VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                   ☒ yes
                   ☐ no

           VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   ☒ no
                   ☐ yes If “yes,” list all related cases by name, case number, and court.


           VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                 ☒ yes
                 ☐ no

   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that I have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ Michael A. Citron                        Fla. Bar # 105083
                  Attorney or party                                      (Bar # if attorney)

  Michael A. Citron                                11/05/2020
   (type or print name)                            Date




                                                   -3-
